Case: 1:17-md-02804-DAP Doc #: 2212-63 Filed: 08/13/19 1 of 8. PageID #: 336731




PSJ4 SOL Opp App A Exh 3
Case: 1:17-md-02804-DAP Doc #: 2212-63 Filed: 08/13/19 2 of 8. PageID #: 336732
Case: 1:17-md-02804-DAP Doc #: 2212-63 Filed: 08/13/19 3 of 8. PageID #: 336733
Case: 1:17-md-02804-DAP Doc #: 2212-63 Filed: 08/13/19 4 of 8. PageID #: 336734
Case: 1:17-md-02804-DAP Doc #: 2212-63 Filed: 08/13/19 5 of 8. PageID #: 336735
Case: 1:17-md-02804-DAP Doc #: 2212-63 Filed: 08/13/19 6 of 8. PageID #: 336736
Case: 1:17-md-02804-DAP Doc #: 2212-63 Filed: 08/13/19 7 of 8. PageID #: 336737
Case: 1:17-md-02804-DAP Doc #: 2212-63 Filed: 08/13/19 8 of 8. PageID #: 336738
